IN THE UNITED STATES DISTRICT COURT

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FILED

FEB 2 6 2025

FOR THE NORTHERN DISTRICT OF OKLAHOMAteigj p. Campbell, Clerk

UNITED STATES OF AMERICA,
Plaintiff,
v.

GABRIEL URQUIZA-URQUIZA,
a/k/a “Gabriel Urquiza-Flores,”’
DAISY VILLANUEVA,

JAVIER RODARTE,

RICARDO PLATEADO-MARTINEZ,
ROSA MARIA OLMOS,
RAFAEL GONZALEZ,

a/k/a “Gonzo,”

JOEL ROSALES PINA,

a/k/a “Eastside,”’

a/k/a “E.S.,”

Defendants.

U.S. DISTRICT COURT
Case No. 24-CR-131-JDR

SECOND SUPERSEDING
INDICTMENT

[COUNT ONE: 21 U.S.C. §§ 846
and 841(b)(1)(A)(viii) — Drug
Conspiracy;

COUNT TWO: 18 U.S.C. § 924(o0)
— Firearms Conspiracy;

COUNT THREE: 18 U.S.C.
933(a)(1), 933(a)(3), and 933(b) —
Firearms Trafficking;

COUNT FOUR: 18 U.S.C.

§ 1956(h) — Conspiracy to Commit
Money Laundering;

COUNTS FIVE and SIX: 18 U.S.C.
§§ 1957(a) and 1957(b) — Engaging
in Monetary Transactions in
Property Derived from Specified
Unlawful Activity;

COUNT SEVEN: 21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(A)(viii) —
Distribution of Methamphetamine;
COUNT EIGHT: 21 U.S.C.

§§ 856(a)(1) and 856(b) —
Maintaining a Drug-Involved
Premises;

COUNT NINE: 18 U.S.C.

§§ 922(g)(5)(A) and 924(a)(8) —
Alien Unlawfully in the United
States in Possession of Firearms;
COUNT TEN: 18 U.S.C.

§ 924(c)(1)(A)@) — Possession of
Firearms in Furtherance of a Drug
Trafficking Crime;

COUNT ELEVEN: 50 U.S.C.

§ 4819 — Illegal Export of Firearms;

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COUNT TWELVE: 18 U.S.C.

§ 924(k)(2)(B) — Smuggling Firearms
from the United States;

COUNT THIRTEEN: 8 U.S.C.

§ 1326 — Unlawful Reentry of a
Removed Alien;

COUNT FOURTEEN: 21 U.S.C.
§§ 963 and 960(b)(1)(H) -
Conspiracy to Import a Controlled
Substance;

Forfeiture Allegation: 18 U.S.C.
§§ 924(d)(1), 934(a)(1)(A) and (B),
and 982(a)(1), 21 U.S.C. § 853, 28
U.S.C. § 2461(c), and 50 U.S.C.

§ 4819(d) — Drugs, Conspiracy,
Money Laundering and Firearms
Forfeiture]

THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

From in or about February 2023 to on or about April 24, 2024, in the Northern
District of Oklahoma and elsewhere, the defendants, GABRIEL URQUIZA-
URQUIZA, a/k/a “Gabriel Urquiza-Flores,” DAISY VILLANUEVA, JAVIER
RODARTE, RICARDO PLATEADO-MARTINEZ, ROSA MARIA OLMOS,
RAFAEL GONZALEZ, a/k/a “Gonzo,” and JOEL ROSALES PINA, a/k/a
“Eastside,” a/k/a “E.S.,” together and with others known and unknown to the
Grand Jury (collectively “the CONSPIRATORS”), willfully, knowingly, and
intentionally combined, conspired, confederated, and agreed together, each with the
other, to commit offenses against the United States as follows:

OBJECTS OF THE CONSPIRACY

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1. To possess with intent to distribute 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, a violation of Title 21, United States Code, Section
841(a)(1); and

2. To distribute 500 grams or more of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule IH controlled substance, a
violation of Title 21, United States Code, Section 841(a)(1).

PURPOSE OF THE CONSPIRACY

The purpose of the conspiracy was to enrich the CONSPIRATORS and others
illegally through the illicit sale of methamphetamine to lower-level distributors,
addicts, and drug users who had no lawful means of acquiring the controlled

substances.

MEANS AND METHODS OF THE CONSPIRACY

The objects of the conspiracy were accomplished by the following means and
methods, among others:

1. The CONSPIRATORS, within the Northern District of Oklahoma and
elsewhere, imported methamphetamine supplied by members of a Transnational
Criminal Organization, who were in Mexico and elsewhere and distributed these
controlled substances.

2. GONZALEZ and PINA directed co-conspirators known and unknown to the

Grand Jury, through the use of contraband cell phones while incarcerated.
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3. During the course of the conspiracy, co-conspirators would travel in interstate
commerce to obtain controlled substances for distribution in the Northern District of
Oklahoma and elsewhere.

4. The CONSPIRATORS used Tulsa, Oklahoma, to operate a local distribution
cell for the distribution of methamphetamine.

5. The CONSPIRATORS used cell phones, including text messaging and other
communication methods, to facilitate and conduct activity related to trafficking in
controlled substances.

6. Various co-conspirators used vehicles to transport methamphetamine for
distribution and to transport drug proceeds within the Northern District of
Oklahoma and elsewhere.

7. Members of the conspiracy, including PINA, arranged for LETICIA
GARCIA SALAZAR to use an apartment located at 7215 South 92nd East Avenue,
Apartment 2, Tulsa, Oklahoma for the storage of bulk quantities of
methamphetamine.

8. Various co-conspirators, including URQUIZA-URQUIZA, VILLANUEVA,
RODARTE, PLATEADO-MARTINEZ, and OLMOS, used public spaces, such as
parking lots, as meeting places to exchange drugs or drug proceeds.

9. Various co-conspirators, including OLMOS, GONZALEZ, and PINA used
cell phone applications, including Cash App, to collect and make payments for

methamphetamine.
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10. Various co-conspirators, including URQUIZA-URQUIZA and
VILLANUEVA used money transfer services to send drug proceeds to co-
conspirators, known and unknown to the Grand Jury.

11. URQUIZA-URQUIZA delivered drug proceeds to at least one individual
with the understanding this money would be deposited into a bank account and

eventually transferred to Mexico.

All in violation of Title 21, United States Code, Sections 846 and

841(b)()(A) (vii).
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COUNT TWO
[18 U.S.C. § 924(0)]

From in or about January 2024 to on or about April 8, 2024, in the Northern
District of Oklahoma and elsewhere, the defendant, GABRIEL URQUIZA-
URQUIZA, a/k/a “Gabriel Urquiza-Flores,” knowingly and intentionally
combined, conspired, confederated, and agreed with other persons, both known and
unknown to the Grand Jury, to commit an offense under Title 18, United States
Code, Section 924(c)(1), that is, possession of a firearm in furtherance of a drug
trafficking crime for which they may be prosecuted in a court of the United States,
that is, Drug Conspiracy, as more fully set forth in Count One of this Second
Superseding Indictment.

All in violation of Title 18, United States Code, Section 924(0).
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COUNT THREE
[18 U.S.C. §§ 933(a)(1), 933(a)(3), and 933(b)]

From in or about January 2024 to on or about April 8, 2024, in the Northern
District of Oklahoma and elsewhere, the defendant, GABRIEL URQUIZA-
URQUIZA, a/k/a “Gabriel Urquiza-Flores,” together with others known and
unknown to the Grand Jury, knowingly shipped, transported, transferred, caused to
be transported, and otherwise disposed of one or more of the following firearms to
another person in and affecting interstate and foreign commerce, and conspired and
attempted to do so, knowing and having reasonable cause to believe that the use,
carrying, and possession of a firearm by the recipient would constitute a felony:

1. An Inter Ordnance (IO) Inc, Model 10-15, multi-caliber semi-automatic pistol,
serial number 1015-02197;

2. An Anderson Manufacturing, Model AM-15, multi-caliber semi-automatic
rifle, serial number 21121908;

3. A Beretta, Model 92F, 9mm semi-automatic pistol, serial number
BER137788Z;

4. A Browning, Model SA-22, .22 Caliber semi-automatic rifle, serial number
10940RN 146;

5. A Fabrique Nationale (FN), Model 509, 9mm semi-automatic pistol, serial
number GKS0166223;

6. A Norinco, Model 22 A.T.D., .22 caliber semi-automatic rifle, serial number
422721;

7. A Radical Firearms, Model RF-15, multi-caliber semi-automatic rifle, serial
number 21-081376;

8. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;
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9. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

10.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0002-
34894;

11.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0003-
65582;

12.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0020-
73510;

13.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 354-
44453;

14.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 104682;

15.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 199352;

16.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 250-52250; and

17.A Ruger, Model M77, .243 caliber bolt-action rifle, serial number 784-79037.

All in violation of Title 18, United States Code, Sections 933(a)(1), 933(a)(3), and

933(b).
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COUNT FOUR
[18 U.S.C. § 1956(h)]

From in or about February 2023 to on or about April 24, 2024, in the Northern
District of Oklahoma and elsewhere, the defendants, GABRIEL URQUIZA-
URQUIZA, a/k/a “Gabriel Urquiza-Flores,” DAISY VILLANUEVA, JAVIER
RODARTE, RICARDO PLATEADO-MARTINEZ, ROSA MARIA OLMOS,
RAFAEL GONZALEZ, a/k/a “Gonzo,” JOEL ROSALES PINA, a/k/a
“Eastside,” a/k/a “E.S.,” and others known and unknown to the Grand Jury,
knowingly and intentionally combined, conspired, confederated, and agreed
together, knowing that the property involved in financial transactions represented the
proceeds of some form of unlawful activity, to knowingly conduct and attempt to
conduct such financial transactions affecting interstate and foreign commerce, which
in fact involved the proceeds of specified unlawful activity, that is, Distribution of
Methamphetamine, a violation of Title 21, United States Code, Section 841(a)(1), and
Conspiracy to Possess with Intent to Distribute and to Distribute Methamphetamine,
a violation of Title 21, United States Code, Sections 846 and 84l(a)(1), knowing that
the transactions were designed in whole and in part to conceal and disguise the
nature, the location, the source, the ownership, and the control of the proceeds of
some form of unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(1)(B)Q).

All in violation of Title 18, United States Code, Section 1956(h).
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COUNT FIVE
[18 U.S.C. §§ 1957(a) and 1957(b)]

On or about July 13, 2023, in the Northern District of Oklahoma, the defendant,
GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,” knowingly
engaged in and attempted to engage in a monetary transaction in criminally derived
property of a value greater than $10,000 and derived from specified unlawful
activities. The specified unlawful activity was Drug Conspiracy, as set forth more
fully in Count One of this Second Superseding Indictment.

All in violation of Title 18, United States Code, Sections 1957(a) and 1957(b).

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COUNT SIX
[18 U.S.C. §§ 1957(a) and 1957(b)]

On or about August 2, 2023, in the Northern District of Oklahoma, the
defendant, GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,”
knowingly engaged in and attempted to engage in a monetary transaction in
criminally derived property of a value greater than $10,000 and derived from
specified unlawful activities. The specified unlawful activity was Drug Conspiracy,
as set forth more fully in Count One of this Second Superseding Indictment.

All in violation of Title 18, United States Code, Sections 1957(a) and 1957(b).

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COUNT SEVEN
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii)]

On or about March 11, 2024, in the Northern District of Oklahoma, the
defendant, DAISY VILLANUEVA, knowingly and intentionally distributed 500
grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(viii).

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COUNT EIGHT
[21 U.S.C. §§ 856(a)(1) and 856(b)]

From on or about June 19, 2023, to on or about April 24, 2024, in the Northern
District of Oklahoma, the defendant, JOEL ROSALES PINA, a/k/a “Eastside,”
a/k/a “E.S.,” and others known and unknown to the Grand Jury, unlawfully and
knowingly used and maintained a place located at 7215 South 92nd East Avenue,
Apartment 2, Tulsa, Oklahoma, for the purpose of repackaging, storing, and
distributing methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 856(a)(1) and 856(b).

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COUNT NINE
[18 U.S.C. §§ 922(g)(5)(A) and 924(a)(8)]

On or about March 30, 2024, in the Northern District of Oklahoma, the
defendant, GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,”
knowing he was then an alien illegally and unlawfully in the United States,
knowingly possessed in and affecting interstate commerce the following firearms:

1. An Inter Ordnance (IO) Inc, Model 10-15, multi-caliber semi-automatic pistol,
serial number 1015-02197;

2. An Anderson Manufacturing, Model AM-15, multi-caliber semi-automatic
rifle, serial number 21121908;

3. A Beretta, Model 92F, 9mm semi-automatic pistol, serial number
BER137788Z;

4. A Browning, Model SA-22, .22 Caliber semi-automatic rifle, serial number
10940RN 146;

5. A Fabrique Nationale (FN), Model 509, 9mm semi-automatic pistol, serial
number GKS0166223;

6. A Norinco, Model 22 A.T.D., .22 caliber semi-automatic rifle, serial number
422721;

7. A Radical Firearms, Model RF-15, multi-caliber semi-automatic rifle, serial
number 21-081376;

8. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

9. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

10.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0002-
34894;

11.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0003-
65582;

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12.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0020-
73510;

13.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 354-
44453:

14.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 104682;

15.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 199352;

16.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 250-52250; and

17.A Ruger, Model M77, .243 caliber bolt-action rifle, serial number 784-79037.

Allin violation of Title 18, United States Code, Sections 922(g)(5)(A) and

924(a)(8).

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COUNT TEN
[18 U.S.C. § 924(c)(1)(A)W]

On or about March 30, 2024, in the Northern District of Oklahoma, the
defendant, GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,”
knowingly possessed firearms in furtherance of a drug trafficking crime for which he
may be prosecuted in a court of the United States, that is, Drug Conspiracy, as set
forth more fully in Count One of this Second Superseding Indictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT ELEVEN
[50 U.S.C. § 4819]

On or about March 30, 2024, in the Northern District of Oklahoma, the

defendant, GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,”

knowingly and willfully attempted to export from the United States to Mexico the

following items identified on the Commerce Control List:

I.

An Inter Ordnance (IO) Inc, Model 10-15, multi-caliber semi-automatic pistol,
serial number 1015-02197;

An Anderson Manufacturing, Model AM-15, multi-caliber semi-automatic
rifle, serial number 21121908;

. A Beretta, Model 92F, 9mm semi-automatic pistol, serial number

BER137788Z;

A Browning, Model SA-22, .22 Caliber semi-automatic rifle, serial number
10940RN146;

. A Fabrique Nationale (FN), Model 509, 9mm semi-automatic pistol, serial

number GKS0166223;

. A Norinco, Model 22 A.T.D., .22 caliber semi-automatic rifle, serial number

422721;

. A Radical Firearms, Model RF-15, multi-caliber semi-automatic rifle, serial

number 21-081376;

A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

10.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0002-

34894;

11.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0003-

65582;

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12.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0020-
735.10;

13.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 354-
44453;

14.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 104682;

15.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 199352;

16.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 250-52250; and

17.A Ruger, Model M77, .243 caliber bolt-action rifle, serial number 784-79037,

which weapons were designated under Export Control Classification Number
0A501.a without first having obtained the required license and written approval from
the United States Department of Commerce.

All in violation of Title 50, United States Code, Section 4819.

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COUNT TWELVE
[18 U.S.C. § 924(k)(2)(B)]

On or about March 30, 2024, in the Northern District of Oklahoma, the

defendant, GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,”

knowingly attempted to smuggle and take out of the United States the following

firearms:

1. An Inter Ordnance (IO) Inc, Model 10-15, multi-caliber semi-automatic pistol,
serial number 1015-02197;

2. An Anderson Manufacturing, Model AM-15, multi-caliber semi-automatic
rifle, serial number 21121908;

3. A Beretta, Model 92F, 9mm semi-automatic pistol, serial number
BER137788Z;

4. A Browning, Model SA-22, .22 Caliber semi-automatic rifle, serial number
10940RN 146;

5. A Fabrique Nationale (FN), Model 509, 9mm semi-automatic pistol, serial
number GKS0166223;

6. A Norinco, Model 22 A.T.D., .22 caliber semi-automatic rifle, serial number
422721;

7. A Radical Firearms, Model RF-15, multi-caliber semi-automatic rifle, serial
number 21-081376;

8. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
number;

9. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial

number;

10.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0002-

34894;

11.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0003-

65582:

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12.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0020-
733810;

13.A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 354-
44453;

14.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 104682;

15.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 199352;

16.A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
number 250-52250; and

17.A Ruger, Model M77, .243 caliber bolt-action rifle, serial number 784-79037,

with intent to engage in or to promote conduct that constitutes a felony, as that term
is defined in Title 18, United States Code, Section 932(a).

All in violation of Title 18, United States Code, Section 924(k)(2)(B).

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COUNT THIRTEEN
[8 U.S.C. § 1326]

On or about April 8, 2024, in the Northern District of Oklahoma, the defendant,
GABRIEL URQUIZA-URQUIZA, a/k/a “Gabriel Urquiza-Flores,” an alien, was
found in the United States after having been deported and removed therefrom on or
about March 24, 2014, and having thereafter knowingly entered the United States
without previously receiving the express consent of the proper legal authority to
reapply for admission to the United States.

All in violation of Title 8, United States Code, Section 1326.

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COUNT FOURTEEN
[21 U.S.C. §§ 963 and 960(b)(1)(H)]

From in or about February 2023 to on or about April 24, 2024, in the Northern
District of Oklahoma and elsewhere, the defendants, GABRIEL URQUIZA-
URQUIZA, a/k/a “Gabriel Urquiza-Flores,” RAFAEL GONZALEZ, a/k/a
“Gonzo,” and JOEL ROSALES PINA, a/k/a “Eastside,” a/k/a “E.S.,” with
others known and unknown to the Grand Jury, willfully, knowingly, and
intentionally combined, conspired, confederated, and agreed together, each with the
other, to import from Mexico 500 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section 960(a)(1).

All in violation of Title 21, United States Code, Sections 963 and 960(b)(1)(H).

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FORFEITURE ALLEGATION
[18 U.S.C. §§ 924(d)(1), 934(a)(1)(A) and (B), and 982(a)(1), 21 U.S.C. § 853,
28 U.S.C. § 2461(c), and 50 U.S.C. § 4819(d)]

The allegations contained in this Second Superseding Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 18, United States Code, Sections 924(d)(1), 934(a)(1)(A) and (B),
and 982(a)(1); Title 21, United States Code, Section 853; Title 28, United States
Code, Section 2461(c); and Title 50, United States Code, Section 4819(d).

Upon conviction of the offenses alleged in this Second Superseding Indictment, as
a part of their sentences, the defendants, GABRIEL URQUIZA-URQUIZA, a/k/a
“Gabriel Urquiza-Flores,” DAISY VILLANUEVA, JAVIER RODARTE,
RICARDO PLATEADO-MARTINEZ, ROSA MARIA OLMOS, RAFAEL
GONZALEZ, a/k/a “Gonzo,” and JOEL ROSALES PINA, a/k/a “Eastside,”
a/k/a “E.S.,” shall forfeit to the United States any property constituting, or derived
from, or traceable to, the proceeds obtained, directly or indirectly, as a result of such
violations, any firearm and ammunition involved in or used in the knowing
commission of such offenses, and any property, real or personal, that was used or
intended to be used to commit or to facilitate the violation of federal law.

Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
18, United States Code, Sections 982(b)(1) and 1028(g), and Title 28, United States
Code, Section 2461(c), the defendant shall forfeit substitute property, up to the value

of the property described above if, by any act or omission of the defendant, the

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property described above, or any portion thereof, cannot be located upon the exercise
of due diligence; has been transferred or sold to, or deposited with, a third party; has
been placed beyond the jurisdiction of the court; has been substantially diminished in
value; or has been commingled with other property which cannot be divided without
difficulty.

All pursuant to Title 18, United States Code, Sections 924(d)(1), 934(a)(1)(A) and
(B), and 982(a)(1); Title 21, United States Code, Section 853; Title 28, United States

Code, Section 2461(c); and Title 50, United States Code, Section 4819(d).

CLINTON J. JOHNSON A TRUE BILL
United States Attorney

SS /s/ Grand Jury Foreperson
DAVID A. NASAR Grand Jury Foreperson
Assistant United States Attorney

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